      Case 1:16-cr-00051-TWT-JSA Document 44 Filed 02/02/17 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION



 UNITED STATES OF AMERICA
 v.                                            CRIMINAL ACTION NO.
                                               1:16cr051-TWT
 CLIFFORD WAYNE HILL
              Defendants

                                       ORDER

      The Court sets the case for trial, April 10, 2017 Courtroom 2108, 9:30 a.m.,

as the first case on the Court’s trial calendar.

      The time between the original schedule date of trial of March 13, 2017 and

trial shall be excluded. The court finds that all time accruing until the time of trial

is excluded according to the provisions of 18 U.S.C. § 3161(h)(7)(A).

      SO ORDERED, this 2nd day of February, 2017.


                                         /s/Thomas W. Thrash
                                         THOMAS W. THRASH, JR.
                                         UNITED STATES DISTRICT JUDGE
